                 0:03-cr-01004-MBS                    Date Filed 12/29/16            Entry Number 130                 Page 1 of 1


AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)         Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                            District of South Carolina

                   United States of America
                              v.                                           )
                                                                           )
                                                                           )   Case No:       0:03-1004-001-MBS
                JAMES EDWARD BLACKMON
                                                                           )   USM No: 10777-171
Date of Original Judgment:         2/22/08                                 )
Date of Previous Amended Judgment:                                         )   Pro Se
(Use Date of Last Amended Judgment if Any)                                     Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of O the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           O DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of                   months is reduced to                                     .
                                             (Complete Parts I and II of Page 2 when motion is granted)

Amendment 782 does not have the effect of reducing Defendant's sentence because he was sentenced under 21 U.S.C.
(b)(1)(A) and not under the Sentencing Guidelines.


Except as otherwise provided, all provisions of the judgment dated 2/22/08                                       shall remain in effect.
IT IS SO ORDERED.

Order Date:            December 29, 2016                                                       /s/ Margaret B. Seymour
                                                                                                       Judge’s signature


Effective Date:                                                           Margaret B. Seymour, Senior United States District Judge
                     (if different from order date)                                                Printed name and title
